Case 2:16-cv-02106-PSG-SS   Document 1-3   Filed 03/28/16   Page 1 of 19 Page ID
                                    #:53




                  EXHIBIT 3
Case 2:16-cv-02106-PSG-SS   Document 1-3   Filed 03/28/16   Page 2 of 19 Page ID
                                    #:54




                                Ex. 3, p. 051
Case 2:16-cv-02106-PSG-SS   Document 1-3   Filed 03/28/16   Page 3 of 19 Page ID
                                    #:55




                                Ex. 3, p. 052
Case 2:16-cv-02106-PSG-SS   Document 1-3   Filed 03/28/16   Page 4 of 19 Page ID
                                    #:56




                                Ex. 3, p. 053
Case 2:16-cv-02106-PSG-SS   Document 1-3   Filed 03/28/16   Page 5 of 19 Page ID
                                    #:57




                                Ex. 3, p. 054
Case 2:16-cv-02106-PSG-SS   Document 1-3   Filed 03/28/16   Page 6 of 19 Page ID
                                    #:58




                                Ex. 3, p. 055
Case 2:16-cv-02106-PSG-SS   Document 1-3   Filed 03/28/16   Page 7 of 19 Page ID
                                    #:59




                                Ex. 3, p. 056
Case 2:16-cv-02106-PSG-SS   Document 1-3   Filed 03/28/16   Page 8 of 19 Page ID
                                    #:60




                                Ex. 3, p. 057
Case 2:16-cv-02106-PSG-SS   Document 1-3   Filed 03/28/16   Page 9 of 19 Page ID
                                    #:61




                                Ex. 3, p. 058
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 10 of 19 Page ID
                                     #:62




                                 Ex. 3, p. 059
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 11 of 19 Page ID
                                     #:63




                                 Ex. 3, p. 060
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 12 of 19 Page ID
                                     #:64




                                 Ex. 3, p. 061
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 13 of 19 Page ID
                                     #:65




                                 Ex. 3, p. 062
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 14 of 19 Page ID
                                     #:66




                                 Ex. 3, p. 063
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 15 of 19 Page ID
                                     #:67




                                 Ex. 3, p. 064
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 16 of 19 Page ID
                                     #:68




                                 Ex. 3, p. 065
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 17 of 19 Page ID
                                     #:69




                                 Ex. 3, p. 066
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 18 of 19 Page ID
                                     #:70




                                 Ex. 3, p. 067
Case 2:16-cv-02106-PSG-SS   Document 1-3 Filed 03/28/16   Page 19 of 19 Page ID
                                     #:71




                                 Ex. 3, p. 068
